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               EXHIBIT 1
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·1· · · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA

·3
· · ·United States of America,· · · · · · · No.
·4· · · · · · · · · · · · · · · · · · · · · 1:16-CV-03088-ELR
· · · · ·Plaintiff,
·5
· · ·vs.
·6
· · ·State of Georgia,
·7
· · · · ·Defendant.
·8· ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

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· · · · · · · · · ·VIDEOTAPED ZOOM DEPOSITION OF
13
· · · · · · · · · · · · · LARRY E. WINTER
14
· · · · · · · · · · · · ·November 30, 2022
15
· · · · · · · · · · · · · · ·9:01 a.m.
16
· · · · · · · · · · · · · Dalton, Georgia
17

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19

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22

23· · · · · · · · · Marcella Daughtry, RPR, RMR

24· · · · · · Georgia License No. 6595-1471-3597-5424

25· · · · · · · · · · California CSR No. 14315


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·1· ·general education school settings?
·2· · · · A· ·Yes, ma'am.
·3· · · · Q· ·And then maybe the last one for now, if I use
·4· ·the acronym "EBD," will you understand that I am
·5· ·referring to emotional and behavioral disabilities?
·6· · · · A· ·Yes, ma'am.
·7· · · · Q· ·Okay.· You mentioned that you previously served
·8· ·on the Georgia State Board of Education; is that correct?
·9· · · · A· ·Yes, ma'am.
10· · · · Q· ·Okay.· How long did you serve on the State
11· ·Board?
12· · · · A· ·14 years.
13· · · · Q· ·And what was -- what were the span of years
14· ·that you served?
15· · · · A· ·From 2005 to December of 2019.· I understand
16· ·that my term actually went into the first week of 2020,
17· ·but I did nothing during that one week.
18· · · · Q· ·Okay.· When you served on the State Board, what
19· ·positions did you hold?
20· · · · A· ·I was either chairman or vice chairman of the
21· ·budget committee and chaired the audit committee.
22· · · · Q· ·And what was the time span that you served as
23· ·chairman or vice chairman of the budget committee?
24· · · · A· ·To me, they were intermingled, so from 2005 to
25· ·2019.


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·1· · · · Q· ·Okay.· So that entire period you were either
·2· ·chair or vice chair?
·3· · · · A· ·Yes, ma'am.
·4· · · · Q· ·And then, likewise, what was the time span that
·5· ·you served as chair of the audit committee?
·6· · · · A· ·The same.
·7· · · · Q· ·Did you hold any other positions on the State
·8· ·Board?
·9· · · · A· ·Other than member, not that I recall.
10· · · · Q· ·And did you ever hold the position of chair of
11· ·the entire board?
12· · · · A· ·No, ma'am.
13· · · · Q· ·What district did you represent when you served
14· ·as a member of the board, State Board?
15· · · · A· ·It depends.· Initially the 9th congressional
16· ·district.· After reorganization, the 14th.
17· · · · Q· ·What area of the state is served by the 9th --
18· ·well, I should reframe that.
19· · · · · · What area of the state was served by the 9th
20· ·district, and how did that differ from the area that was
21· ·served by the 14th?
22· · · · A· ·I would describe the 9th as a path across the
23· ·top of the state and the 14th being the northwest corner.
24· · · · Q· ·And when during that time span that you were on
25· ·the board did -- was there a reorganization?


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·1· ·spending?
·2· · · · A· ·That's correct.
·3· · · · Q· ·Okay.· And then looking at this last small
·4· ·Roman numeral iii, it says, "Monitor GNETS to ensure
·5· ·compliance with Federal and state policies, procedures,
·6· ·rules, and the delivery of appropriate instructional and
·7· ·therapeutic services."
·8· · · · · · How does the State Board of Education monitor
·9· ·GNETS to ensure compliance?
10· · · · A· ·Through the --
11· · · · · · MR. BELINFANTE:· Objection to form.
12· · · · · · THE WITNESS:· Through the State -- through the
13· ·Georgia DOE's compliance team working on GNETS.
14· · · · Q· ·BY MS. HAMILTON:· And when you say through the
15· ·Georgia DOE's compliance team working on GNETS, who is --
16· ·who makes up that team?
17· · · · A· ·Well, again, the -- the key people were Clara
18· ·and Nakeba, and then they had other people in their team
19· ·working with different GNETS groups across the state.
20· · · · Q· ·Okay.· And when it -- just to make sure I
21· ·understand, though, it says here, the SEA or the State
22· ·Board shall monitor GNETS to ensure compliance with all
23· ·of these things that follow.· And then I know your answer
24· ·you said there's a compliance team.
25· · · · · · How do you ensure that the GNETS program is


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·1· ·complying with these policies and procedures that are
·2· ·listed here?
·3· · · · · · MR. BELINFANTE:· Object to form.
·4· · · · · · THE WITNESS:· I'm relying on Clara and Nakeba
·5· ·and their staff.
·6· · · · Q· ·BY MS. HAMILTON:· And by relying on them, are
·7· ·you saying they are reporting back to you regarding the
·8· ·GNETS program's compliance?
·9· · · · A· ·That is correct.· They did report back,
10· ·typically through Mr. McGiboney, but they could report
11· ·direct -- back directly as well.
12· · · · Q· ·And to the extent that this is in the GNETS
13· ·rule, was there a formal mechanism by which Mr. --
14· ·Dr. McGiboney or these other individuals were reporting
15· ·back?
16· · · · A· ·The only reporting that I was a part of was the
17· ·budget process, reviewing the money in and the money out.
18· · · · Q· ·Okay.· I'm going to stop sharing this document,
19· ·and what I want to do now is actually walk through a
20· ·State Board meeting agenda, really just from a sample
21· ·meeting, to get a better sense of the State Board's role
22· ·when it comes to awarding certain types of GNETS funding.
23· ·I am going to share my screen.· Give me one moment.
24· · · · · · All right.· I would like for the court reporter
25· ·to mark this next document as Plaintiff's Exhibit 614.


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·1· ·grant to the GNETS programs?
·2· · · · · · MR. BELINFANTE:· Object to form.
·3· · · · · · THE WITNESS:· Correct.
·4· · · · · · (Court reporter clarification.)
·5· · · · Q· ·BY MS. HAMILTON:· How do you determine how much
·6· ·is allotted to each individual GNETS program?
·7· · · · A· ·Well, there's a lot of paperwork behind that
·8· ·document that you and I are now looking at.· It's where
·9· ·the -- each program, be it a RESA program or a LEA
10· ·program, comes to us with their budget based on the
11· ·severity of the children, the number of the children, the
12· ·current year, three years and so on.· And so all of that
13· ·then is tabulated, and that's how the -- the budget for
14· ·each GNETS site is calculated.
15· · · · Q· ·Okay.· Has the State Board ever not awarded the
16· ·money in full, the allotments here in full to each of the
17· ·GNETS programs?
18· · · · · · MR. BELINFANTE:· Objection to form.
19· · · · · · THE WITNESS:· Ultimately, no.· However, we have
20· ·put pauses on certain people for them to realize receipt
21· ·of the money is not guaranteed; they have
22· ·responsibilities to perform.· And so there's different
23· ·levels that you can -- you know, you can give somebody a
24· ·grant, and they don't get all of the money at once.· They
25· ·get it over a period of time, but typically monthly by


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·1· ·making out requests for the money, just like the State
·2· ·doesn't have all of its money on the first day of its
·3· ·fiscal year.· It collects it monthly from its various
·4· ·funding sources.
·5· · · · · · However, sometimes you can have difficulty in
·6· ·understanding or accepting the information that you are
·7· ·being receiving, and instead of funding in advance, you
·8· ·can fund on a reimbursement basis.· Well, that's really
·9· ·quite a shock to an LEA when we're going to get our money
10· ·in a month or two or three months after we spend it.
11· · · · · · Okay, so they -- they tend not to want to do
12· ·that, or if their program is really out of align, you
13· ·just tell them, we're not going to fund you, or we are
14· ·going to stop funding you.
15· · · · · · So ultimately a meeting of the minds took place
16· ·wherever there was a disagreement in the past that I was
17· ·aware of.
18· · · · Q· ·BY MS. HAMILTON:· Were there ever any instances
19· ·involving GNETS programs where the State Board put a
20· ·pause on funding that program?
21· · · · A· ·Yes.
22· · · · · · MR. BELINFANTE:· Object to form.
23· · · · · · THE WITNESS:· The answer was yes.
24· · · · Q· ·BY MS. HAMILTON:· What would be an example of a
25· ·time when the State Board put a pause on funding for a


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·1· ·particular GNETS program?
·2· · · · A· ·Albany.
·3· · · · Q· ·And how long was the funding for the Albany
·4· ·GNETS program?· How long was that policy?
·5· · · · A· ·Less than 90 days.· It took them that long to
·6· ·use up all of their accumulated reserves and realized
·7· ·that they just needed to just go ahead and get in
·8· ·compliance.
·9· · · · Q· ·Are there any other examples of times when
10· ·funding for a GNETS program was put on pause?
11· · · · A· ·Not that I am aware of.· Not that I recall.· We
12· ·had discussions with others, but we never had to resort
13· ·to it.
14· · · · Q· ·Do you remember which other programs you had
15· ·discussions with regarding the potential of putting their
16· ·funding on pause?
17· · · · · · MR. BELINFANTE:· Object to form.
18· · · · · · THE WITNESS:· Valdosta.
19· · · · Q· ·BY MS. HAMILTON:· And was that in connection to
20· ·the quality of instruction issues that we discussed
21· ·earlier today?
22· · · · A· ·Yes, ma'am.
23· · · · Q· ·All right.· I want to scroll down to the
24· ·section in the board item that says "Performance."· Why
25· ·is there a section in the board item that discusses


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